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                               UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                           O RLANDO D IVISION

  BARBARA J. BARRINGTON,

                                  Plaintiff,

  -vs-                                                             Case No. 6:05-cv-1601-Orl-KRS

  LOCKHEED MARTIN, ET AL.,

                          Defendants.
  ________________________________________

                                                ORDER

            This cause came on for consideration without oral argument on the following motion filed

  herein:

               MOTION:        PLAINTIFF MOTION TO COMPEL DEPOSITION (Doc.
                              No. 117)

               FILED:         November 17, 2006

            Plaintiff Barbara Barrington moves for an order compelling the deposition of Ron

  Gettelfinger, compelling Georgi-Ann Bargamian to answer questions posed during her deposition,

  overruling objections made during the deposition of Barbara Klein, and admitting the Union

  Constitution, apparently into evidence. Doc. No. 117. Defendants Lockheed Martin Corporation

  and United Auto Worker, Local 788, United Auto Workers, International Union, United

  Automobile Aerospace and Agricultural Implement Worker of America (Local 788) have

  responded, and the matter is ripe for review. Doc. Nos. 119, 121. Discovery in this matter closed

  on November 17, 2006. Doc. No. 96. I will address each of the requests separately.
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         A.      Request to Depose Ron Gettelfinger.

         Barrington seeks to depose Ron Gettelfinger, President of the International Union of the

  United Automobile, Aerospace, Agricultural Implement Workers of America (International

  Union). Barrington represents, and counsel for Local 788 acknowledges, that Barrington

  attempted to notice Gettelfinger’s deposition through a Notice of Taking Deposition Duces

  Tecum, although I do not find this notice in the file. See Doc. No. 117 at 2; Doc. No. 119 at 3.

         Counsel for Local 788 argues that the notice of taking deposition was insufficient because

  Local 788 is an independent legal entity from the International Union, and neither the International

  Union nor Gettelfinger are parties to the present action. Doc. No. 119 at 2. She offered no

  evidence to support this assertion. Furthermore, in other papers filed in this case, counsel

  indicated that she acts on behalf of “Defendant, International Union of Automobile, Aerospace,

  Agricultural Implement Workers of America.” See Doc. Nos. 14, 42, 48. Additionally, counsel

  for Local 788 offered to produce an assistant to Gettelfinger for a deposition, see doc. no. 119 at 3

  & ex. 1, which reflects that counsel for Local 788 also represents and has control over the

  International Union and its officers and agents for purposes of making them available to be

  deposed in this case. Considering the confusion created in the record by counsel for Local 788, it

  was reasonable for Barrington to seek Gettelfinger’s deposition by notice, rather than by subpoena.

         Counsel for Local 788 also argues that it is inappropriate to require the President of the

  International Union to appear for a deposition. This is an argument that appropriately could have

  been made on a motion to quash or for a protective order. Considering that Barrington canceled




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  the deposition before it was to have been taken, however, I will consider this legal argument, albeit

  belatedly made.

          Counsel for Local 788 relies on a decision by the Honorable David A. Baker, United States

  Magistrate Judge, in support of her argument. In his order, Judge Baker noted that the high-

  ranking official whom the plaintiff sought to depose submitted an affidavit in which he averred

  that he did not have personal knowledge of the matters about which the plaintiff wished to inquire.

  Bontempo v. Lockheed Martin Corp., No. 6:02-cv-640-Orl-18DAB (M.D. Fla. Jan. 14, 2003),

  doc. no. 23, reproduced at Doc. No. 119-3 at 3. In the present case, Barrington submitted a letter

  from Gettelfinger to her indicating that Gettelfinger received copies of Barrington’s complaint and

  that he forwarded it to the appropriate department for investigation and follow-through. Doc. No.

  117-2. Barrington wishes to inquire where Gettelfinger forwarded her complaint and the results of

  the investigation that was to follow. Doc. No. 117 at 2. It appears that Gettelfinger should have

  personal knowledge as to this issue based on his letter.

          Finally, Local 788 has argued in this case that Barrington’s complaint should be denied

  because she failed to exhaust available internal remedies before filing this case. One of those

  avenues of review, according to Local 788, would have been through the Union’s Public Review

  Board. Doc. No. 67 at 17-18. Barrington indicates that she specifically wishes to inquire whether

  Gettelfinger sent her complaint to the Public Review Board. Doc. No. 117 at 2. Under these

  circumstances, the information Barrington wishes to obtain from Gettelfinger is relevant to the

  issues in the case.




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         Accordingly, the motion to compel Gettelfinger to appear for a deposition is GRANTED,

  and it is ORDERED that Mary Jill Hanson, counsel for the Local 788, shall cause Gettelfinger to

  appear for a deposition, which deposition Gettelfinger may attend from his home or place of

  business via telephone. Barrington must make the necessary arrangements to have Gettelfinger

  sworn by a notary public or court reporter in the place where he is physically present, unless

  Gettelfinger and counsel for the defendants agree in writing that an oath administered by a court

  reporter present in the Middle District of Florida will bind Gettelfinger to the same extent as

  would an oath administered in the location where Gettelfinger is physically present.

         Counsel shall confer with Gettelfinger and with Barrington to select a mutually convenient

  date on or before December 31, 2006, on which Gettelfinger will be deposed. The deposition may

  be conducted by telephone. If the parties are unable to arrive at a date for the deposition, they shall

  jointly contact my courtroom deputy clerk, Samantha Colón, at 407/835-4320 on or before

  December 15, 2006, to schedule a telephonic hearing during which I will set the date and time for

  the deposition.

         Counsel for Local 788 shall provide a copy of this order to Gettelfinger.

         B.         Motion to Compel Directed to Georgi-Ann Bargamian.

         Barrington requests that the Court compel Georgi-Ann Bargamian to answer the question

  posed by Barrington at lines 7 through 23 of page 16 of Bargamian’s deposition. Doc. No. 117 at

  3. The pertinent portion of Bargamian’s deposition transcript is as follows:

                 [Barrington] I’m gonna ask a specific question here: If you know that –
         you stated you don’t know why the arbitrator used my civil defamation lawsuit to
         terminate me. And do you feel that was wrong?



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                 [Bargamian] Do I feel that was wrong?

                 [Barrington] That – how I was terminated by the arbitrator?

                 [Counsel for Lockheed Martin]            Object to form.

                 [Bargamian] I’m sorry. I’m not quite sure what you are asking me.

                [Barrington] Okay. You said in your letter to the National Labor
         Relation[s] Board you don’t understand – you [do] not know why the arbitrator
         used Barrington’s civil defamation lawsuit as basis for [my] discharge. And I asked
         why would you say that? Do you think that it was wrong?

                 [Counsel for Local 788]                  Object to the form of the question.

                 [Counsel for Lockheed Martin]            Join.

                 [Counsel for Local 788]                  Compound question.

                [Bargamian] The Union did not like the arbitration decision. The Union
         disagreed with the arbitrator’s analysis.

  Doc. No. 117-5 at 16.

         The deposition transcript indicates, and Barrington appears to concede, doc. no. 117 at 3,

  that Bargamian answered the question. Because Bargamian answered the question in issue, the

  motion to compel Bargamian to again answer the question is DENIED.

         C.      Motion to Overrule Objections in the Deposition of Barbara Klein.

         Barrington next moves for an order overruling an objection made during the deposition of

  Barbara Klein. Because Klein answered the question in issue, counsel’s objections merely

  preserved the objections should any party attempt to rely on the deposition in support of motions

  or responses filed with the Court or during a hearing or trial. There is, therefore, no need to rule

  on the objections at this time. Accordingly, this request is DENIED.



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         D.     Motion to Admit the Union Constitution.

         Barrington requests that the Court admit the Union Constitution into evidence. This

  request is premature. The Court will consider any objections to use of the document that may be

  made when the document is either submitted in support of motions or responses filed with the

  Court, or offered into evidence. Therefore, this request is DENIED.

         DONE and ORDERED in Orlando, Florida on December 4, 2006.

                                                                Karla R. Spaulding
                                                             KARLA R. SPAULDING
                                                       UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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